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      In The United States Court of Federal Claims
                        Nos. 13-00006C; and 13-06000C thru 13-06356C

                                      (Filed: December 5, 2013)
                                              __________

 PUBLIC HOUSING AUTHORITIES
 DIRECTORS ASSOCIATION, et al,

                        Plaintiffs,

        v.

 THE UNITED STATES,

                        Defendant.
                                            __________

                                             ORDER
                                            __________


       Today, a preliminary status conference was held in this case. Participating for plaintiffs
was Carl A.S. Coan, III, and for defendant was Ellen M. Lynch. Pursuant to the discussion, the
court hereby adopts the following schedule:

       1.       On or before June 20, 2014, the parties shall conclude written fact
                discovery as to Count I of the complaint; and

       2.       On or before August 8, 2014, the parties shall file a joint status report
                regarding whether they have reached an agreement about whether there
                should be test plaintiffs and proposing a schedule for the remainder of
                discovery.

       IT IS SO ORDERED.



                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
